Case 8:11-cv-01309-DOC/AN Document 4 Filed'08/30/1% Page 1 of 1 Page ID #24

NAME, ADDRESS & TELEPHONE NUMBER OF ATTORNEY(S) FOR, OR, PLAINTIFF OR
DEFENDANT IF PLAINTIFF OR DEFENDANT IS PRO PER 2 oO
LEONARD TACHNER ! 2 -
LEONARD TACHNER, a professional law corp. | ze
17961 Sky Park Circle, Suite 38-E | tc =
Irvine, CA 92614 f ree ey
- i Som Gy
(949) 752-8525 | mies

tm aed

\W" won TO
{ be 7A © ath
atrornevsror: Plaintiff 2 o MY
: mec CST
UNITED STATES DISTRICT COURT ae

CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER:

JAMES R. GLIDEWELL DENTAL CERAMICS, INC.

DBA GLIDEWELL LABORATORIES, a SACV11-01309-DOC(ANX)

Plaintiff(s),

California corporation
Vv.
KEATING DENTAL ARTS, INC., a CERTIFICATION AND NOTICE
OF INTERESTED PARTIES

California corporation
(Local Rule 7.1-1)

Defendant(s)

TO: THE COURT AND ALL PARTIES APPEARING OF RECORD:
Plaintiff

The undersigned, counsel of record for
(or party appearing in pro per), certifies that the following listed party (or parties) may have a direct, pecuniary
interest in the outcome of this case. These representations are made to enable the Court to evaluate possible

disqualification or recusal. (Use additional sheet if necessary.)

PARTY CONNECTION
(List the names of all such parties and identify their connection and interest.)
Plaintiff

JAMES R. GLIDEWELL DENTAL CERAMICS, INC.
DBA GLIDEWELL LABORATORIES

6/2 of kha Th

Leonard Tachner

Date

Attorney of record for or party appearing in pro per

CV-30 (04/10) NOTICE OF INTERESTED PARTIES
